92 F.3d 1194
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Victor GALLARDO, Defendant-Appellant.
    No. 95-17431.
    United States Court of Appeals, Ninth Circuit.
    Submitted July 29, 1996.*Decided Aug. 5, 1996.
    
      Before:  HUG, Chief Judge, SCHROEDER and TASHIMA, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Victor Gallardo, a federal prisoner, appeals the district court's denial of his 28 U.S.C. § 2255 motion challenging his criminal conviction on double jeopardy grounds.  We have jurisdiction pursuant to 28 U.S.C. § 2255, and we affirm.
    
    
      3
      Gallardo contends that his criminal conviction violated the Double Jeopardy Clause because he had already been punished for the same conduct through prior seizure of his personal property.  This contention is foreclosed by  United States v. Ursery, No. 95-345, 1996 WL 340815 (U.S. June 24, 1996).
    
    
      4
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    